Case 1:18-cv-01436-MN Document 65-3 Filed 08/27/19 Page 1 of 2 PageID #: 2046




                    EXHIBIT 3
           Case 1:18-cv-01436-MN Document 65-3 Filed 08/27/19 Page 2 of 2 PageID #: 2047




From:                                    Eric Majchrzak <emajchrzak@fenwick.com>
Sent:                                    Monday, April 8, 2019 2:26 PM
To:                                      Kim, Olivia; Liston, Ian; Carlson, Erik; Peuscher-Funk, Johanna; Poplawski, Edward;
                                         mferrario@kilpatricktownsend.com; WSGR - LabCorp
Cc:                                      Dorsney, Kenneth L.; Quest_LabCorp_Team
Subject:                                 Quest v. LabCorp, 18-cv-1436 (D. Del.)
Attachments:                             Exhibit A - Dina Mack.pdf


Counsel,

Pursuant to Paragraphs 6.1(b), 6.2(b), and 7.1 and of the Protective Order entered in the above-referenced matter,
please find attached a signed Exhibit A from Dina Mack.

Please let us know if LabCorp will agree to waive Paragraph 7.1’s 7-day waiting period for disclosure to in-house counsel.

Regards,
Eric


ERIC MAJCHRZAK
Associate | Fenwick & West LLP | 212-430-2689 | emajchrzak@fenwick.com
Admitted to practice only in New York.



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